     Case 1:05-cr-00018-MP-AK           Document 123       Filed 06/22/07      Page 1 of 1


                                                                                          Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 121, Motion to Continue Sentencing, filed by

Defendant Isreal Bishop. In his motion, Defendant states that he is listed as a government

witness in a case that was recently continued, and because of this Defendant requests a

continuance of his sentencing hearing, currently set for June 29, 2007. The Government does

not object to any continuance. Accordingly, the motion is granted, and sentencing is hereby

reset for Friday, August 3, 2007, at 10:15 a.m.


       DONE AND ORDERED this             22nd day of June, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
